Case 3:25-cv-01766-EMC   Document 147-1   Filed 05/23/25   Page 1 of 24




                           Exhibit A
   Case 3:25-cv-01766-EMC                   Document 147-1                Filed 05/23/25   Page 2 of 24


From:             Weiland, William H. (CIV)
To:               MacLean, Emi (NON-SIDLEY @ACLUNC.ORG)
Subject:          Re: [EXTERNAL] RE: NTPSA: Discovery production follow up 1
Date:             Friday, May 23, 2025 11:30:29 AM
Attachments:      image001.png
                  image001.png


Emi,

Yes, we stand by our offer to amend the briefing schedule to ameliorate the impact of
supplementing discovery. We don’t concede Defendants are in contempt.

Best,
Will

William H. Weiland
Senior Litigation Counsel
(202)305-0770


        On May 23, 2025, at 1:54 PM, Emi MacLean <EMacLean@aclunc.org> wrote:


        ﻿
        Thank you, Will. We will note your opposition. Please let us know before 11:25 AM
        PST your position on whether Defendants will stipulate to the revised briefing
        schedule you proposed yesterday.

        Best,
        Emi



                                        Emi MacLean
                                        Pronouns: she/her/hers
                                        Senior Staff Attorney
                                        ACLU Foundation of Northern California
                                        39 Drumm St., San Francisco, CA 94111
                                        (929)375-1575| emaclean@aclunc.org




        From: Weiland, William H. (CIV) <William.H.Weiland@usdoj.gov>
        Sent: Friday, May 23, 2025 9:12 AM
        To: Emi MacLean <EMacLean@aclunc.org>; Ahilan Arulanantham
        <arulanantham@law.ucla.edu>; Jessica Bansal Contact <jessica@ndlon.org>
        Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>; Dichter, Anna L. (CIV)
        <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
        <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
        Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Sheffield, Carlton F. (CIV)
        <Carlton.F.Sheffield2@usdoj.gov>; Snyderman, Eric M. (CIV)
Case 3:25-cv-01766-EMC               Document 147-1             Filed 05/23/25          Page 3 of 24


 <Eric.M.Snyderman@usdoj.gov>; Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
 Subject: RE: NTPSA: Discovery production follow up 1

 Emi,

 Good morning. Defendants do not have a specific response to pass at this time.
 DHS continues its review and intends to produce any supplemental documents
 as soon as practicable. Defendants are also working on getting answers to your
 other questions, and will pass those along when they can.

 Defendants will oppose any motion to compel or seek sanctions.

 Best,
 Will



 202-305-0770

 This email and any attachments thereto may contain information that is privileged, confidential, or
 otherwise protected from disclosure under applicable law. If the reader of this transmission is not
 the intended recipient or the employee or agent responsible for delivering the transmission to the
 intended recipient, you are hereby notified that any dissemination, distribution, copying or use of
 this transmission or its contents is strictly prohibited. If you have received this transmission in
 error, please notify us by email or telephone and delete or destroy the original transmission and any
 copies (electronic or paper).


 From: Emi MacLean <EMacLean@aclunc.org>
 Sent: Thursday, May 22, 2025 7:34 PM
 To: Weiland, William H. (CIV) <William.H.Weiland@usdoj.gov>; Ahilan Arulanantham
 <arulanantham@law.ucla.edu>; Jessica Bansal Contact <jessica@ndlon.org>
 Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>; Dichter, Anna L. (CIV)
 <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
 <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
 Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Sheffield, Carlton F. (CIV)
 <Carlton.F.Sheffield2@usdoj.gov>; Snyderman, Eric M. (CIV)
 <Eric.M.Snyderman@usdoj.gov>; Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
 Subject: [EXTERNAL] RE: NTPSA: Discovery production follow up 1

 Will,

 Thank you for taking our call just now.

 As we noted, we are very concerned about Defendants' identification of 159
 potentially responsive documents that were not produced on Monday in violation of
 the Court's order. Dkt. 135. These documents were apparently only identified as a
 result of our inquiries related to the deficiencies we identified in the search and
 production.
Case 3:25-cv-01766-EMC           Document 147-1         Filed 05/23/25       Page 4 of 24


 Plaintiffs intend to go promptly to Judge Chen to seek sanctions and a revised
 briefing schedule unless Defendants can by noon EST tomorrow commit to, in
 addition to revising the MSJ briefing schedule as proposed in your earlier email:
     1. review and produce these newly-identified documents by the end of the day
        tomorrow;
     2. provide a declaration by the end of the day tomorrow from someone
        personally knowledgeable about the search with answers to basic questions
        about how the search was conducted, and specifically:
             a. whether the custodians were asked the means of communication that
                 they used to communicate about the challenged TPS decisions;
             b. what forms of communications were searched for each custodian;
             c. whether Defendants searched phones, text, signal messages, or other
                 forms of communication;
             d. whether Defendants searched personal phones and email addresses;
             e. whether hard drives were searched;
              f. whether paper files were searched.
             g. what search terms were used for the searches;
             h. what the hit counts were for the searches;
     3. serve a formal response to the RFPs, signed by counsel, representing that the
        agency has complied with its discovery obligations

 We also ask for the additional information discussed yesterday and still outstanding:
    1. You committed to find out whether the individuals Defendants identified as
       OP&S and RAIO custodians (Amany Ezeldin, Tom Perkowski, Jessica Robles
       and Emma Krichinsky) authored Decision Memos and/or country conditions
       reports specific to the Venezuela vacatur and termination, and the Haiti
       partial vacatur decisions, or whether instead they authored only the Decision
       Memos and country conditions reports that were considered as part of the
       periodic review process for the July 1, 2024 extension and redesignation of
       Haiti and the January 17, 2025 extension of Venezuela. It is not apparent from
       the Privilege Log or the documents produced whether there are any Decision
       Memos or Country Conditions Reports which post-date January 17, 2025.
    2. You intended to seek a declaration to substantiate the deliberative process
       privilege assertions, but we do not have that yet, and the information in the
       corrected privilege log still lacks sufficient detail to substantiate the privilege
       assertions.
    3. You committed to provide a list of attorneys who provided legal advice to the
       agency in connection with the challenged actions, to help us determine
       whether the attorney-client privilege has been properly invoked. We are still
       waiting for that.
    4. Lastly, we noticed (but did not discuss yesterday) that there are four
       documents withheld based on an assertion of “presidential communication.”
       But the privilege log metadata do not contain as senders, recipients, authors,
Case 3:25-cv-01766-EMC          Document 147-1           Filed 05/23/25   Page 5 of 24


         or custodians the President or anyone in the White House. Can you please
         explain on what ground this assertion of “presidential communications
         privilege” is being invoked?

 Best,
 Emi




                             Emi MacLean
                             Pronouns: she/her/hers
   <image001.png>            Senior Staff Attorney
                             ACLU Foundation of Northern California
                             39 Drumm St., San Francisco, CA 94111
                             (929)375-1575| emaclean@aclunc.org




 From: Weiland, William H. (CIV) <William.H.Weiland@usdoj.gov>
 Sent: Thursday, May 22, 2025 1:33 PM
 To: Emi MacLean <EMacLean@aclunc.org>; Ahilan Arulanantham
 <arulanantham@law.ucla.edu>; Jessica Bansal Contact <jessica@ndlon.org>
 Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>; Dichter, Anna L. (CIV)
 <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
 <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
 Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Sheffield, Carlton F. (CIV)
 <Carlton.F.Sheffield2@usdoj.gov>; Snyderman, Eric M. (CIV)
 <Eric.M.Snyderman@usdoj.gov>; Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
 Subject: RE: NTPSA: Discovery production follow up 1

 Emi,

 Good afternoon. Following up on this, and after inquiring further into the
 issues you raised, it appears there are 159 potentially responsive documents
 from USCIS custodians that were not batched out by our Relativity review
 system for DHS responsiveness and privilege review. We have informed DHS
 of this, and of the need for them to review and likely supplement their
 production. We aim to do so no later than May 27, 2025.

 We recognize how this impacts Plaintiffs’ MSJ briefing schedule. To
 compensate, we propose taking the time away from Defendants’ X-MSJ reply
 and providing it to you, returning Plaintiffs to where they would have been
 without this delay by giving you another week to file your initial motion, but
 leaving the overall schedule and hearing date intact. We propose that the
 parties include in our JSR to the court the following schedule for summary
 judgement briefing:

 Plaintiffs Motion for Summary Judgment: June 3, 2025
 Defendant’s Opposition and cross-motion: June 17, 2025
Case 3:25-cv-01766-EMC               Document 147-1             Filed 05/23/25          Page 6 of 24


 Plaintiffs Reply and Opposition: June 27, 2025

 Please let us know if this is acceptable to you.

 Best,
 Will


 202-305-0770

 This email and any attachments thereto may contain information that is privileged, confidential, or
 otherwise protected from disclosure under applicable law. If the reader of this transmission is not
 the intended recipient or the employee or agent responsible for delivering the transmission to the
 intended recipient, you are hereby notified that any dissemination, distribution, copying or use of
 this transmission or its contents is strictly prohibited. If you have received this transmission in
 error, please notify us by email or telephone and delete or destroy the original transmission and any
 copies (electronic or paper).


 From: Weiland, William H. (CIV)
 Sent: Wednesday, May 21, 2025 8:49 PM
 To: Emi MacLean <EMacLean@aclunc.org>; Ahilan Arulanantham
 <arulanantham@law.ucla.edu>; Jessica Bansal Contact <jessica@ndlon.org>
 Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>; Dichter, Anna L. (CIV)
 <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
 <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
 Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Sheffield, Carlton F. (CIV)
 <Carlton.F.Sheffield2@usdoj.gov>; Snyderman, Eric M. (CIV)
 <Eric.M.Snyderman@usdoj.gov>; Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
 Subject: NTPSA: Discovery production follow up 1

 Emi,

 Thank you. Defendants continue to look at the issues raised herein, as
 discussed on today’s phone call.

 In the interest of getting you something tonight, here is a partial response to
 your questions, which Defendants will amend / supplement as more
 information becomes available. In particular, Defendants are still reviewing the
 specific documents you identified. Some of the corrective measures taken wrt
 the privilege log will hopefully clear many of these issues up.

 1. Here is the list of custodians whom DHS has confirmed were searched
 utilizing the search terms ordered by the Court:

 DHS Custodians
 Rob Law
 James Percival
 Troup Hemenway
 Troy Edgar (“S2TDE”)
 Benjamine C. Huffman
 Kristi Noem
 Joseph N. Mazzara
Case 3:25-cv-01766-EMC               Document 147-1             Filed 05/23/25          Page 7 of 24


 Joseph Guy
 Corey Lewandowski
 Tony Pham

 USCIS Custodians
 Andrew Davidson
 Jennifer Higgins
 Kika Scott (“CFOKMS”)
 Joe Edlow
 Samantha Deshommes
 Connie Nolan
 Amany Ezeldin (OP&S)
 Tom Perkowski (RAIO)
 Jessica Robles (RAIO)
 Emma Krichinsky (RAIO)

 2. Privlog issues and document identification. Attached is a corrected
 privlog, that also reflects document filenames. As noted on today’s call, the log
 you were provided encompassed the entire universe identified by the agency as
 responsive, but for a reason likely to be the result of conflicting data within the
 document review system, some of the same documents received multiple bates
 numbers, or documents that were withheld in full were numbered when they
 shouldn’t have been. Our litigation support techs looked into this and we
 believe they have fixed the conflict.

 The PII assertions were also be removed from the log, as that caused some
 additional confusion. The markup in the dataset remains.

 3. Attorney Identities. We are working with DHS to get you a list.

 4. Privilege assertions. As noted on the call, DHS has been asked if it will be
 changing any of it’s assertions. We will let you know if they intend to do so.

 Best,
 Will

 202-305-0770

 This email and any attachments thereto may contain information that is privileged, confidential, or
 otherwise protected from disclosure under applicable law. If the reader of this transmission is not
 the intended recipient or the employee or agent responsible for delivering the transmission to the
 intended recipient, you are hereby notified that any dissemination, distribution, copying or use of
 this transmission or its contents is strictly prohibited. If you have received this transmission in
 error, please notify us by email or telephone and delete or destroy the original transmission and any
 copies (electronic or paper).


 From: Emi MacLean <EMacLean@aclunc.org>
 Sent: Wednesday, May 21, 2025 3:34 AM
 To: Weiland, William H. (CIV) <William.H.Weiland@usdoj.gov>; Ahilan Arulanantham
 <arulanantham@law.ucla.edu>; Jessica Bansal Contact <jessica@ndlon.org>
 Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>; Dichter, Anna L. (CIV)
 <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
 <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
Case 3:25-cv-01766-EMC          Document 147-1         Filed 05/23/25      Page 8 of 24


 Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Sheffield, Carlton F. (CIV)
 <Carlton.F.Sheffield2@usdoj.gov>; Snyderman, Eric M. (CIV)
 <Eric.M.Snyderman@usdoj.gov>; Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
 Subject: [EXTERNAL] RE: 3:25-cv-01766-EMC National TPS Alliance et al v. Noem et al
 Hearing on 5/29/25

 Hi Will and Sarah,

 Upon further review of the privilege log and discovery, we have identified additional
 concerns.

    1. Apparently Inadequate Search & Production
           a. Failure to Produce Records from Numerous Custodians: It appears that
              Defendants have neither produced nor logged documents for
              numerous custodians identified in Judge Chen’s discovery order. For
              example, Defendants have neither produced nor identified and
              withheld documents that identify Secretary Noem, Corey
              Lewandowski, Kika Scott, or Troy Edgar as the custodians. Nor have
              Defendants identified any records—produced or withheld—from the
              custodians Defendants identified as the authors of the RAIO country
              conditions report or OP&S Decision Memos for any of the three
              challenged actions. In addition to being a named Custodian, Mr.
              Lewandowski is listed on the Haiti Clearance Record as having cleared
              or approved the Haiti Vacatur, and is noted as having "also provided via
              email" his clearance. (HT Vacatur AR_0164.) Yet there are no emails
              from him and his name appears nowhere in the privilege logs for emails
              withheld. The same glaring absence is recognized for 8 of the 18
              custodians from whom Judge Chen ordered records produced. (See
              below. Note that one custodian is identified as “S2TDE,” and another
              as “CFOKMS,” without names, preventing Plaintiffs from identifying
              them. Please identify them.)
                           Defendants are obliged to review and produce responsive
                 documents from all Custodians contained in Judge Chen’s order.
                 Unless Defendants are prepared to represent that these individuals
                 (a) destroyed all documents provided to them despite the pendency
                 of this litigation, or (b) never received documents, or communicated,
                 about these decisions, it is implausible that these senior individuals
                 —including the ones allegedly making the decisions at issue in this
                 litigation, and who signed off on the DHS Record of Clearance; or
                 who Defendants have asserted produced underlying documents
                 which informed the decisions—have no responsive documents in
                 their possession, custody, or control. Please confirm that the
                 search terms ordered by Judge Chen were applied to records
Case 3:25-cv-01766-EMC      Document 147-1         Filed 05/23/25     Page 9 of 24


              collected for all of the custodians and that all such “hits” were
              either produced or logged. If documents were not collected or
              searched for certain custodians, then please promptly identify
              the omitted custodians and search terms.

         b. Key Custodians Apparently Not Included: NTPSA_510 identifies that
           Nader Baroukh and Christina McDonald prepared the “TPS Vacatur”
           notice. Neither were identified by Defendants as custodians. See also
           NTSPA_524. NTPSA 465 is an email from Sheila Mahmoudi circulating a
           draft “FRN – Haiti TPS Partial Vacatur” and names Alex King and Amany
           Ezeldih as responsible for the draft. None of these people – Sheila
           Mahmoudi, Alex King, and Amany Ezeldih – are named as custodians.
           See also NTPSA 473, 476 (Amany Ezeldih communications related to
           “Haiti stats”). Please identify why these individuals were not
           identified as custodians, and confirm whether Defendants will
           commit to producing their communications given their central role
           in these decisions.

         c. Failure to Produce a Complete Search of Records Related to the Haiti
           Decision: Only seven of the documents outside of the official
           administrative record reference Haiti at all. These are (1) a
           Congressional Research Service 2023 report on TPS-related litigation
           developments (NTPSA 246), (2) an email apparently circulating the
           Haiti TPS Partial Vacatur (NTPSA 465), (3) a USCIS Immigrant Benefit
           Tracking document (NTPSA 499), and(4) four redacted emails about the
           same limited “Haiti stats” (NTPSA 473, 476, 477, and 509). Please
           produce records related to the Haiti decision that have not been
           produced or logged.

         d. Very Limited Email Production: Defendants produced only
           approximately 25 emails. Nearly all were merely emails accompanying
           documents but lacking all substantive content and in various cases
           lacking the attachments. For instance, NTPSA_467 is from an
           “Unspecified Sender” with a fully redacted attachment (which is not
           itself produced), and lacks all substantive content; and NTPSA_252,
           which has as the subject line “Short Fuse TPS”, attaches a redacted
           document which is not produced, and lacks any content in the email
           itself. Defendants also produced seven emails attaching and
           circulating Secretary of State Rubio’s letter recommending the
           termination of TPS for Venezuela, without substantive content. See
           NTPSA_64, 464, 470, 478, 495, 625, 627.
                       See also NTPSA_245 (attaching FRN for TPS Vacatur),
              NTPSA_251 (attaching a Venezuela vacatur memo which is not
Case 3:25-cv-01766-EMC       Document 147-1        Filed 05/23/25      Page 10 of 24


              produced), NTPSA_253 (attaching Venezuela “Vacatur Final” and
              “Vacatur-FR-Signed”), NTPSA_262 (attaching “Memo – TPS VZ
              Vacatur Final.pdf”), NTPSA_329 (attaching “Task and Rule trackers,”
              which are not actually produced), NTPSA_466 (attaching a draft of
              the “TPS Vacatur”), NTPSA_468 (attaching a draft of the Venezuela
              Federal Register Notice, not produced). The remaining emails
              produced include very minimal substantive content—see, e.g.,
              NTPSA_473, 476, 477, 509 (various emails regarding “Haiti stats”).

          e. Lack of Text Messages or Instant Messages: The productions do not
            contain a single text or instant message. Given modern
            communication practices, and the number of custodians, this seems
            improbable. Please confirm that the collection included all
            responsive communications made by the custodians that hit the
            search terms, not merely emails. If no such materials were
            collected or searched, please confirm that the custodians were
            instructed to preserve all such materials.

          f. Very Limited Production of Records Post-January 20, 2025: A significant
            number of the documents produced yesterday were iterations of
            documents related to the prior, now vacated, decisions, rather than
            any materials from the current administration. For instance, the 77
            documents produced are mostly duplicates of four documents relating
            to the previous administration’s extension of TPS for Venezuela—6
            copies of the January 17, 2025 Federal Register Notice extending TPS
            for Venezuela; 8 copies of the January 10, 2025 1-page Decision
            Document (see, e.g., NTPSA_556); 13 copies of the September 24,
            2024 letter from Secretary of State Blinken recommending extension of
            TPS for Venezuela; and 8 copies of the August 2024 USCIS country
            conditions report on Venezuela. Even with the tight timeline under
            which the administration made the challenged decisions, it is difficult
            to imagine how such momentous decisions impacting more than 1.1
            million people could have been made based on such a small number of
            communications.

          g. Lack of Any USCIS Decision Memos: Defendants produced no Decision
            Memos relating to any of the challenged actions, but only a 1-page
            “Decision Document.” Please confirm whether Defendants prepared
            Decision Memos that are lacking in the production and privilege
            logs, and/or identified them as withheld under a different
            description in the privilege log.

     2. Missing Documents
Case 3:25-cv-01766-EMC        Document 147-1         Filed 05/23/25      Page 11 of 24




          a. Failure to Provide Redacted Versions of Documents with Limited
             Privileged Information: The log reflects an apparent failure to provide
             redacted versions of documents that likely contain only limited
             privileged information. Several documents described as “reflecting”
             privileged material have nevertheless been withheld in their entirety.
             Rather than fully withhold these documents, we request that
             Defendants redact any privileged material and produce the rest of
             each document. (See, e.g. NTPSA-DHSHQ_00000098, NTPSA-
             DHSHQ_00000226, and NTPSA-DHSHQ_00000623).

          b. Referenced Documents Not Produced: We received documents Bates
             Stamped NTPSA_000006 through NTPSA_000629. However, the
             privilege log references additional documents that do not appear in the
             production. For example, NTPSA PrivLog Production Volume 1 at Row
             448 references a documents Bates stamped NTPSA_000981. Please
             confirm that all such documents will be produced promptly.

          c. Missing Corresponding Family Members: Other documents appear to
             have been produced without corresponding family members. For
             example, the document Bates Stamped NTSPA_000466 references an
             attachment titled “TPS Vacatur – Venezuela 1108.docx.” The
             production does not appear to contain that attached document.
             Similarly, the document Bates Stamped NTPSA_000252 includes an
             attachment with a redacted name, and which does not appear to have
             been produced. Please confirm that all such documents already
             have been produced or will be produced promptly.

     3. Unsupported Privilege Assertions


          a. Failure to Substantiate Deliberative Process Privilege Assertions: The
             privilege log fails to provide any information to substantiate claims of
             deliberative process privilege—for instance, the names of officials who
             were deliberating, the nature of the information to be kept confidential,
             and the public interest served by keeping the information confidential.
             For example, NTPSA-DHSHQ-15 is withheld in full, but lists only James
             Percival as “custodian” and provides no other information regarding the
             document aside from an assertion of privilege on the following grounds:
             “Pre-decisional and deliberative recommendation from USCIS Acting
             Director to Sec Noem on Venezuela TPS Designation.” See also NTPSA-
             DHSHQ-55, 64, 66, 68, 70,72, 74, 76, 81, 82, 83 (same or similar).
             Many others lack basic information that would allow a review of the
             privilege assertions. Defendants have provided no supporting
Case 3:25-cv-01766-EMC         Document 147-1          Filed 05/23/25        Page 12 of 24


             declaration substantiating the privilege, and the entries are too generic
             for us to fairly evaluate whether the materials qualify as DPP. Please
             provide the necessary information to substantiate the deliberative
             process privilege or produce the records withheld on this ground.

          b. Failure to Identify Attorneys to Substantiate Attorney-Client Privilege
             Assertions: The privilege log fails to identify attorneys or provide a list of
             attorneys, which is crucial in assessing Defendants’ claim of attorney-
             client privilege. See, e.g., DHSHQ_72 - withheld in full as attorney-client
             privilege and deliberative process, lists only James Percival as
             “custodian” and no other information regarding the document aside
             from an assertion of privilege on the following grounds: “Predecisional,
             deliberative document conveying legal advice to Secretary.” See also
             NTPSAHQ_76. Please at minimum provide the names of attorneys
             involved in the communications which substantiate the privilege
             assertion.

     4. Other Apparent Privilege Log Deficiencies


           a. Lack of Sufficient Information to Substantiate Privilege Assertions: The
             privilege log as produced fails to provide sufficient information to allow
             Plaintiffs to assess Defendants’ privilege claims. Numerous privilege
             log entries contain no information other than a reference to the
             asserted privilege and a generic “privilege description” that fails to
             provide a sufficient description of the basis for the privilege. For many
             of such entries, all of the fields for “subject”, “date” and time”
             information, “from,” “to”, “cc,” and “bcc” are blank. Sometimes only a
             “DOCID” is provided, and no Bates range is provided. Moreover, it often
             is unclear whether the listed custodian is even the author. (See, e.g.
             NTPSA-DHSHQ_00000006, NTPSA-DHSHQ_00000064, NTPSA-
             DHSHQ_00000067, NTPSA-DHSHQ_00000068, NTPSA-
             DHSHQ_00000070, NTPSA-DHSHQ_00000072, NTPSA-
             DHSHQ_00000074, NTPSA-DHSHQ_00000076, NTPSA-
             DHSHQ_00000081, NTPSA-DHSHQ_00000082, NTPSA-
             DHSHQ_00000083.)

          b. Failure to Provide File Name Information for Withheld Documents: The
             privilege log does not provide file name information for withheld
             documents.

           c. Incorrect Entries: The privilege log appears to contain references to
             incorrect Bates numbers—for example DOCID NTPSA-
             DHSHQ_00000049 is associated on the log with BEGDOC
Case 3:25-cv-01766-EMC            Document 147-1            Filed 05/23/25        Page 13 of 24


               NTPSA_000079 and, based on the metadata, appears to be an email
               thread. Defendants identify this document in the TAG – Privilege
               column as “PII – Personally Identifying Information.” But the document
               produced at Bates NTPSA_000079 is a copy of the Federal Register
               Notice.

            d. Confusing PII Assertions: Relatedly, we do not understand why a
               privilege log contains a column purporting to designate documents as
               PII. I understand from your response that Defendants are not intending
               to withhold documents solely on the basis of PII, however, given the
               Bates numbering issue, we are unable to determine whether
               Defendants are withholding documents on that basis. In the
               Defendant’s revised log, please remove documents from the log that
               Defendants are producing without redaction. Please confirm that
               each of these deficiencies will be promptly corrected, that
               redacted versions produced, and that all documents withheld as
               DPP will produced given that defendants still have not provided the
               requisite supporting declaration to substantiate DPP.

  Our review remains ongoing and the above identified issues are without prejudice to
  Plaintiffs raising additional issues with Defendants’ production.

  Given the urgency of this matter and the Court’s briefing schedule, and to avoid
  further prejudice from delays, we ask that you produce any additional documents
  by tomorrow and provide a revised privilege log and supporting declaration by 5
  pm PT Thursday.

  Best,

  Emi




          CUSTODIANS
          Not identified as custodians for any produced records or named as
          custodians for any privilege log entries
                                      <!--[if !supportLists]-->·       <!--[endif]-->Secretary
                                           Noem (signed DHS Clearance Record for 3
                                           Challenged Agency Actions)
                                      <!--[if !supportLists]-->·       <!--[endif]-->Corey
                                           Lewandowski, DHS Chief Advisor (signed DHS
                                           Clearance Record for Haiti Decision [and
                                           potentially Venezuela termination decision –
Case 3:25-cv-01766-EMC         Document 147-1            Filed 05/23/25           Page 14 of 24


                                         anonymous check mark for two of the “Senior
                                         Advisor” “signatories”])
                                    <!--[if !supportLists]-->·       <!--[endif]-->Troy Edgar,
                                         DHS Deputy Secretary and formerly Senior
                                         Advisor (signed DHS Clearance Record for Haiti
                                         & Venezuela Vacatur Decisions [and potentially
                                         Venezuela termination decision – anonymous
                                         check mark for two of the “Senior Advisor”
                                         “signatories”])
                                    <!--[if !supportLists]-->·       <!--[endif]-->Kika Scott,
                                         USCIS Director (or Senior Official Performing
                                         the Duties of the Director
                                    <!--[if !supportLists]-->·       <!--[endif]-->Amany Ezeldin
                                         (identified by Defendants as either author of
                                         RAIO country conditions report or OP&S
                                         Decision Memo)
                                    <!--[if !supportLists]-->·       <!--[endif]-->Tom Perkowski
                                         (identified by Defendants as either author of
                                         RAIO country conditions report or OP&S
                                         Decision Memo)
                                    <!--[if !supportLists]-->·       <!--[endif]-->Jessica Robles
                                         (identified by Defendants as either author of
                                         RAIO country conditions report or OP&S
                                         Decision Memo)
                                    <!--[if !supportLists]-->·       <!--[endif]-->Emma
                                         Krichinsky (identified by Defendants as either
                                         author of RAIO country conditions report or
                                         OP&S Decision Memo)

        Fewer than 25 records identified on the privilege log or documents produced
        from the following custodians:
                                   <!--[if !supportLists]-->·       <!--[endif]-->Jennifer
                                        Higgins, USCIS Director (or Senior Official
                                        Performing the Duties of the Director)
                                   <!--[if !supportLists]-->·       <!--[endif]-->Rob Law,
                                        Senior Counselor (signed DHS Clearance Record
                                        for Haiti Decision)
                                   <!--[if !supportLists]-->·       <!--[endif]-->Troup
                                        Hemenway, Senior Advisor (signed DHS
                                        Clearance Record for Venezuela and Haiti
                                        vacatur decisions [and potentially Venezuela
                                        termination decision – anonymous check mark
                                        for two of the “Senior Advisor” “signatories”])

        Limited records from remaining custodians:
Case 3:25-cv-01766-EMC        Document 147-1             Filed 05/23/25           Page 15 of 24


                                   <!--[if !supportLists]-->·       <!--[endif]-->Joseph Mazzara,
                                        DHS Senior Advisor and Acting General Counsel
                                         (signed DHS Clearance Record for Haiti
                                        Decision and potentially Venezuela termination
                                        decision)
                                   <!--[if !supportLists]-->·       <!--[endif]-->Jimmy Percival,
                                        Senior Advisor (signed DHS Clearance Record
                                        for Haiti & Venezuela Vacatur Decisions [and
                                        potentially Venezuela termination decision –
                                        anonymous check mark for two of the “Senior
                                        Advisor” “signatories”])
                                   <!--[if !supportLists]-->·       <!--[endif]-->Tony Pham,
                                        Assistant Secretary for Border and Immigration
                                        Policy in the Department of Homeland
                                        Security’s Office of Strategy, Policy and Plans
                                   <!--[if !supportLists]-->·       <!--[endif]-->Joe Edlow,
                                        USCIS Senior Advisor (nominated to be USCIS
                                        Director)
                                   <!--[if !supportLists]-->·       <!--[endif]-->Samantha
                                        Deshommes, USCIS Chief of Office of Policy and
                                        Strategy (OP&S)
                                   <!--[if !supportLists]-->·       <!--[endif]-->Connie Nolan,
                                        Associate Director, USCIS Service Center
                                        Operations Directorate
                                   <!--[if !supportLists]-->·       <!--[endif]-->Andrew
                                        Davidson, Acting Deputy Director of USCIS




                            Emi MacLean
                            Pronouns: she/her/hers
   <image001.png>           Senior Staff Attorney
                            ACLU Foundation of Northern California
                            39 Drumm St., San Francisco, CA 94111
                            (929)375-1575| emaclean@aclunc.org




  From: Emi MacLean <EMacLean@aclunc.org>
  Sent: Tuesday, May 20, 2025 12:45 PM
  To: Weiland, William H. (CIV) <William.H.Weiland@usdoj.gov>; Ahilan Arulanantham
  <arulanantham@law.ucla.edu>; Jessica Bansal Contact <jessica@ndlon.org>
  Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>; Dichter, Anna L. (CIV)
  <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
  <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
  Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Sheffield, Carlton F. (CIV)
Case 3:25-cv-01766-EMC          Document 147-1           Filed 05/23/25    Page 16 of 24


  <Carlton.F.Sheffield2@usdoj.gov>; Snyderman, Eric M. (CIV)
  <Eric.M.Snyderman@usdoj.gov>; Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
  Subject: RE: 3:25-cv-01766-EMC National TPS Alliance et al v. Noem et al Hearing on
  5/29/25

  Thanks for this clarification, Will. We may have other questions or concerns as we
  review.

  Best,
  Emi



                              Emi MacLean
                              Pronouns: she/her/hers
   <image001.png>             Senior Staff Attorney
                              ACLU Foundation of Northern California
                              39 Drumm St., San Francisco, CA 94111
                              (929)375-1575| emaclean@aclunc.org




  From: Weiland, William H. (CIV) <William.H.Weiland@usdoj.gov>
  Sent: Tuesday, May 20, 2025 12:33 PM
  To: Emi MacLean <EMacLean@aclunc.org>; Ahilan Arulanantham
  <arulanantham@law.ucla.edu>; Jessica Bansal Contact <jessica@ndlon.org>
  Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>; Dichter, Anna L. (CIV)
  <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
  <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
  Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Sheffield, Carlton F. (CIV)
  <Carlton.F.Sheffield2@usdoj.gov>; Snyderman, Eric M. (CIV)
  <Eric.M.Snyderman@usdoj.gov>; Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
  Subject: RE: 3:25-cv-01766-EMC National TPS Alliance et al v. Noem et al Hearing on
  5/29/25

  Emi,

  Thank you. We’re confused – the PII only docs were not withheld, they have
  associated Bates numbers from the Production Volume. The log may also list
  duplicates, which were produced once. The data should show those dupes.

  For example, “DOS Letter to DHS – Recommendation to Terminate TPS Designation
  – Venezuela “ is at NTPSA_497. The log simply marks that the email forwarding
  that letter contains PII that should be protected from disclosure.

  I will continue to look at this here, but there is no intent to withhold anything
  based solely on it containing PII.

  Best,
Case 3:25-cv-01766-EMC               Document 147-1             Filed 05/23/25          Page 17 of 24


  Will


  202-305-0770

  This email and any attachments thereto may contain information that is privileged, confidential, or
  otherwise protected from disclosure under applicable law. If the reader of this transmission is not
  the intended recipient or the employee or agent responsible for delivering the transmission to the
  intended recipient, you are hereby notified that any dissemination, distribution, copying or use of
  this transmission or its contents is strictly prohibited. If you have received this transmission in
  error, please notify us by email or telephone and delete or destroy the original transmission and any
  copies (electronic or paper).


  From: Emi MacLean <EMacLean@aclunc.org>
  Sent: Tuesday, May 20, 2025 2:50 PM
  To: Weiland, William H. (CIV) <William.H.Weiland@usdoj.gov>; Ahilan Arulanantham
  <arulanantham@law.ucla.edu>; Jessica Bansal Contact <jessica@ndlon.org>
  Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>; Dichter, Anna L. (CIV)
  <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
  <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
  Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Sheffield, Carlton F. (CIV)
  <Carlton.F.Sheffield2@usdoj.gov>; Snyderman, Eric M. (CIV)
  <Eric.M.Snyderman@usdoj.gov>; Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
  Subject: [EXTERNAL] RE: 3:25-cv-01766-EMC National TPS Alliance et al v. Noem et al
  Hearing on 5/29/25



  Will,

  Thank you for your message. We have begun to review the materials received last
  night. As an initial matter, the privilege logs collectively contain 37 entries about
  critical, relevant, and responsive documents withheld solely based on “PII –
  Personally Identifying Information.” The materials concern such matters as “Memo
  – TPS VA Vacatur Final.pdf,” “Venezuela Vacatur Notice,” “TPS Vacatur,”
  “Venezuela – 2025 Info,” “DOS Letter to DHS – Recommendation to Terminate TPS
  Designation – Venezuela,” “Haiti stats,” “USCIS input: TPS Haiti Vacatur Notice,”
  and “CIS numbers for TPS.” There is no such privilege that entitles refusing to
  comply with a discovery order. Defendants thus are in violation of the Court’s
  discovery order. Please confirm that those materials will be produced immediately.

  Without prejudice to seeking clarification from the Court, Plaintiffs will agree to treat
  whichever portions of these materials Defendants contend qualify as “PII–
  Personally Identifying Information” as confidential in the interim – i.e., Plaintiffs will
  not publicly disclose those portions of the documents, whether via filing or
  otherwise. If Defendants do not confirm that they will produce these materials
  today despite Plaintiffs’ willingness to make this accommodation, then Plaintiffs
  intend to promptly alert and ask the District Court for relief.
Case 3:25-cv-01766-EMC         Document 147-1           Filed 05/23/25    Page 18 of 24




  We look forward to your prompt response no later than 2pm PST / 5pm EST today.

  Best,
  Emi



                             Emi MacLean
                             Pronouns: she/her/hers
   <image001.png>            Senior Staff Attorney
                             ACLU Foundation of Northern California
                             39 Drumm St., San Francisco, CA 94111
                             (929)375-1575| emaclean@aclunc.org




  From: Weiland, William H. (CIV) <William.H.Weiland@usdoj.gov>
  Sent: Monday, May 19, 2025 9:34 PM
  To: Ahilan Arulanantham <arulanantham@law.ucla.edu>; Emi MacLean
  <EMacLean@aclunc.org>; Jessica Bansal Contact <jessica@ndlon.org>
  Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>; Dichter, Anna L. (CIV)
  <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
  <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
  Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Sheffield, Carlton F. (CIV)
  <Carlton.F.Sheffield2@usdoj.gov>; Snyderman, Eric M. (CIV)
  <Eric.M.Snyderman@usdoj.gov>; Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
  Subject: RE: 3:25-cv-01766-EMC National TPS Alliance et al v. Noem et al Hearing on
  5/29/25

  Good evening,

  In compliance with the Court’s order, Defendants have uploaded the extra-
  record discovery, and privilege logs, here:
  https://jefs.box.com/s/6l1y9cwevfl7x861f8w8vakf9pe0mhlb

  The password for the zip file is dY3297fv6&dslgjk3206

  Best,
  Will


  William H. Weiland
  Senior Litigation Counsel
  Office of Immigration Litigation
  General Litigation and Appeals Section
  Post Office Box 868 | Ben Franklin Station | Washington, DC 20044
  P: (202) 305-0770; F: (202) 353-7000
  william.h.weiland@usdoj.gov
Case 3:25-cv-01766-EMC               Document 147-1             Filed 05/23/25          Page 19 of 24


  This email and any attachments thereto may contain information that is privileged, confidential, or
  otherwise protected from disclosure under applicable law. If the reader of this transmission is not
  the intended recipient or the employee or agent responsible for delivering the transmission to the
  intended recipient, you are hereby notified that any dissemination, distribution, copying or use of
  this transmission or its contents is strictly prohibited. If you have received this transmission in
  error, please notify us by email or telephone and delete or destroy the original transmission and any
  copies (electronic or paper).


  From: Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
  Sent: Monday, May 19, 2025 11:43 PM
  To: Arulanantham, Ahilan <arulanantham@law.ucla.edu>; Emi MacLean
  <EMacLean@aclunc.org>; Jessica Bansal Contact <jessica@ndlon.org>
  Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>; Dichter, Anna L. (CIV)
  <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
  <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
  Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Sheffield, Carlton F. (CIV)
  <Carlton.F.Sheffield2@usdoj.gov>; Snyderman, Eric M. (CIV)
  <Eric.M.Snyderman@usdoj.gov>; Weiland, William H. (CIV)
  <William.H.Weiland@usdoj.gov>; Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
  Subject: RE: 3:25-cv-01766-EMC National TPS Alliance et al v. Noem et al Hearing on
  5/29/25
  Importance: High

  Hi Ahilan,

  Yes, we did see the Court’s order from this evening and we will be sending the
  discovery responses to RFP 1-2 and 6 shortly, along with accompanying privilege
  logs. We are producing the documents subject to finalizing negotiations on the
  protective order. We also note that the privilege logs contain the names and email
  addresses of DHS career employees and we consider that information confidential
  as well. Happy to discuss tomorrow.

  Best,
  Sarah



  From: Arulanantham, Ahilan <arulanantham@law.ucla.edu>
  Sent: Monday, May 19, 2025 10:03 PM
  To: Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>; Emi MacLean
  <EMacLean@aclunc.org>; Jessica Bansal Contact <jessica@ndlon.org>
  Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>; Dichter, Anna L. (CIV)
  <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
  <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
  Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Sheffield, Carlton F. (CIV)
  <Carlton.F.Sheffield2@usdoj.gov>; Snyderman, Eric M. (CIV)
  <Eric.M.Snyderman@usdoj.gov>; Weiland, William H. (CIV)
Case 3:25-cv-01766-EMC          Document 147-1        Filed 05/23/25      Page 20 of 24


  <William.H.Weiland@usdoj.gov>
  Subject: [EXTERNAL] Re: 3:25-cv-01766-EMC National TPS Alliance et al v. Noem et al
  Hearing on 5/29/25


  Dear Sarah,

  We trust you have seen the district court’s order this evening
  in response to your assertion that you would not produce
  further discovery absent a court order in light of the
  Supreme Court’s order.

  We assume you will produce the discovery. If you do not
  intend to do so, please let us know immediately so that we
  can determine what further remedies to pursue.

  I should add that we intend to file our summary judgment
  motion by our previously-agreed upon schedule and need
  the discovery to complete that task.

  Take care,
  ahilan

  From: Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
  Date: Thursday, May 15, 2025 at 6:28 PM
  To: Emi MacLean <EMacLean@aclunc.org>, Jessica Bansal Contact
  <jessica@ndlon.org>, Arulanantham, Ahilan <arulanantham@law.ucla.edu>
  Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>, Dichter, Anna L.
  (CIV) <Anna.L.Dichter@usdoj.gov>, Hartman, Jeffrey M. (CIV)
  <Jeffrey.M.Hartman@usdoj.gov>, Ross, Catherine (CIV)
  <Catherine.Ross@usdoj.gov>, Saylor, Amanda B (CIV)
  <Amanda.B.Saylor@usdoj.gov>, Sheffield, Carlton F. (CIV)
  <Carlton.F.Sheffield2@usdoj.gov>, Snyderman, Eric M. (CIV)
  <Eric.M.Snyderman@usdoj.gov>, Weiland, William H. (CIV)
  <William.H.Weiland@usdoj.gov>
Case 3:25-cv-01766-EMC           Document 147-1         Filed 05/23/25        Page 21 of 24


  Subject: RE: 3:25-cv-01766-EMC National TPS Alliance et al v. Noem et al
  Hearing on 5/29/25

  Emi,

  Thank you - we will file a stipulated request to take the hearing off the calendar next
  week.

  Regarding the protective order, I disagree with the characterization that no
  protective order was necessary in Ramos. The government entered protective order
  agreements in the other TPS cases, and we would like to come to some agreement
  here that covers both personal contact and sensitive information. I am editing the
  NDCal order and will send you a draft in redline.

  The additional custodians added were Amany Ezeldin, Tom Perkowski, Jessica
  Robles, and Emma Krichinsky, all from USCIS.

  Best,
  Sarah



  From: Emi MacLean <EMacLean@aclunc.org>
  Sent: Thursday, May 15, 2025 10:15 AM
  To: Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>; Jessica Bansal Contact
  <jessica@ndlon.org>; Ahilan Arulanantham <arulanantham@law.ucla.edu>
  Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>; Dichter, Anna L. (CIV)
  <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
  <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
  Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Sheffield, Carlton F. (CIV)
  <Carlton.F.Sheffield2@usdoj.gov>; Snyderman, Eric M. (CIV)
  <Eric.M.Snyderman@usdoj.gov>; Weiland, William H. (CIV)
  <William.H.Weiland@usdoj.gov>
  Subject: [EXTERNAL] RE: 3:25-cv-01766-EMC National TPS Alliance et al v. Noem et al
  Hearing on 5/29/25


  Sarah,

  Plaintiffs will stipulate to removing the 5/29 hearing from the calendar.

  Regarding a protective order: In Ramos, the parties entered into an agreement
  protecting against the disclosure of “personnel contact information.” (Please see
  attached.) We would consent to such an agreement here. We do not, however, see
  any reason why a broader protective order would be required here where none was
Case 3:25-cv-01766-EMC          Document 147-1           Filed 05/23/25    Page 22 of 24


  necessary in Ramos. We of course welcome further information from defendants
  about why the situation here is distinct such that a protective order is warranted.

  Can you please also provide the names of the custodians referenced by their roles in
  the discovery status report order? See Dkt. 132 at pp. 2-3 (identifying as custodians
  the authors of the RAIO country conditions reports and OP&S Decision Memos).

  Best,
  Emi




                              Emi MacLean
                              Pronouns: she/her/hers
   <image001.png>             Senior Staff Attorney
                              ACLU Foundation of Northern California
                              39 Drumm St., San Francisco, CA 94111
                              (929)375-1575| emaclean@aclunc.org




  From: Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
  Sent: Wednesday, May 14, 2025 2:16 PM
  To: Emi MacLean <EMacLean@aclunc.org>; Jessica Bansal Contact
  <jessica@ndlon.org>; Ahilan Arulanantham <arulanantham@law.ucla.edu>
  Cc: Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>; Dichter, Anna L. (CIV)
  <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
  <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
  Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Sheffield, Carlton F. (CIV)
  <Carlton.F.Sheffield2@usdoj.gov>; Snyderman, Eric M. (CIV)
  <Eric.M.Snyderman@usdoj.gov>; Weiland, William H. (CIV)
  <William.H.Weiland@usdoj.gov>
  Subject: FW: 3:25-cv-01766-EMC National TPS Alliance et al v. Noem et al Hearing on
  5/29/25


  Hi Emi,

  Would Plaintiffs stipulate to removing the 5/29 hearing from the Court’s calendar?

  We’d also like to enter into a protective order to cover the documents that will be
  produced on Monday. I will review the standard NDCal PO and send to you later this
  evening with our thoughts.

  Best,
  Sarah
Case 3:25-cv-01766-EMC         Document 147-1         Filed 05/23/25      Page 23 of 24




  From: EMC CRD <EMCCRD@cand.uscourts.gov>
  Sent: Friday, May 9, 2025 4:47 PM
  To: Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
  Cc: Emi MacLean <EMacLean@aclunc.org>; jessica@ndlon.org; Arulanantham, Ahilan
  <arulanantham@law.ucla.edu>; Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>;
  Dichter, Anna L. (CIV) <Anna.L.Dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
  <Jeffrey.M.Hartman@usdoj.gov>; Ross, Catherine (CIV) <Catherine.Ross@usdoj.gov>;
  Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>; Snyderman, Eric M. (CIV)
  <Eric.M.Snyderman@usdoj.gov>; Weiland, William H. (CIV)
  <William.H.Weiland@usdoj.gov>
  Subject: [EXTERNAL] RE: 3:25-cv-01766-EMC National TPS Alliance et al v. Noem et al
  Hearing on 5/29/25


  Good Afternoon Ms. Vuong,

  For the time being, there is still a hearing on 5/29/2025. The
  Parties may stipulate to taking the hearing off calendar or
  attending via Zoom.

  Thank you.

                      Vicky L. Ayala
                      Courtroom Deputy to the Honorable Edward M. Chen
                      United States District Court
                      Northern District of California
                      https://cand.uscourts.gov
                      Office: 415-522-2034



  From: Vuong, Sarah L. (CIV) <Sarah.L.Vuong@usdoj.gov>
  Sent: Thursday, May 8, 2025 7:11 AM
  To: EMC CRD <EMCCRD@cand.uscourts.gov>
  Cc: Emi MacLean <EMacLean@aclunc.org>; jessica@ndlon.org; Arulanantham, Ahilan
  <arulanantham@law.ucla.edu>; Bryant, Lauren E (CIV) <Lauren.E.Bryant@usdoj.gov>;
  anna.l.dichter_usdoj.gov <anna.l.dichter@usdoj.gov>; Hartman, Jeffrey M. (CIV)
  <Jeffrey.M.Hartman@usdoj.gov>; catherine.ross_usdoj.gov
  <catherine.ross@usdoj.gov>; Saylor, Amanda B (CIV) <Amanda.B.Saylor@usdoj.gov>;
  Snyderman, Eric M. (CIV) <Eric.M.Snyderman@usdoj.gov>; Weiland, William H. (CIV)
  <William.H.Weiland@usdoj.gov>
  Subject: 3:25-cv-01766-EMC National TPS Alliance et al v. Noem et al Hearing on
  5/29/25
Case 3:25-cv-01766-EMC               Document 147-1             Filed 05/23/25   Page 24 of 24




  CAUTION - EXTERNAL:



  Good morning,

  I write to ask if the motion hearing scheduled for May 29, 2025 (ECF 117) on
  Defendants’ Motion to Stay Deadlines and Further Proceedings (ECF 115) will go
  forward in light of the Court’s April 30, 2025 Order (ECF 124) on discovery.

  Best,
  Sarah

  Sarah L. Vuong
  Assistant Director
  United States Department of Justice
  Office of Immigration Litigation – General Litigation and Appeals
  Post Office Box 868 | Ben Franklin Station | Washington, DC 20044
  ( 202-305-1263| * sarah.l.vuong@usdoj.gov


   CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary.
   Exercise caution when opening attachments or clicking on links.
